 8:13-cr-00252-JMG-FG3             Doc # 69   Filed: 02/28/14     Page 1 of 1 - Page ID # 211



                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,
                                                                       8:13CR252
                      Plaintiff,

       vs.                                                              ORDER

BRICE LENHARD,

                      Defendant.


       The defendant, Brice Lenhard, has moved to continue the trial (Filing No. 68).          The
motion to continue is unopposed by counsel for the Government. Based on the showing set
forth in the motion, the court finds the motion should be granted. Accordingly,

       IT IS ORDERED:

       1)      Defendant Brice Lenhard’s motion to continue, (filing no. 68), is granted.

       2)      The trial of this case is set to commence before the Honorable John M. Gerrard,
               United States District Judge, in Courtroom #1 of the United States Courthouse,
               Omaha, Nebraska, at 9:00 a.m. on April 22, 2014, for three trial days, or as soon
               thereafter as the case may be called.          Jury selection will be held at
               commencement of trial.

       3)      Based upon the showing set forth in the defendant’s motion and the
               representation of counsel, the Court further finds that the ends of justice will be
               served by continuing the trial; and that the purposes served by continuing the trial
               date in this case outweigh the interest of the defendant and the public in a
               speedy trial. Accordingly, the additional time arising as a result of the granting of
               the motion, the time between today’s date, and April 22, 2014, shall be deemed
               excludable time in any computation of time under the requirements of the Speedy
               Trial Act, because despite counsel’s due diligence, additional time is needed to
               adequately prepare this case for trial and failing to grant additional time might
               result in a miscarriage of justice. 18 U.S.C. § 3161(h)(1), (h)(6) & (h)(7).

       February 28, 2014.
                                                     BY THE COURT:

                                                     s/ F. A. Gossett, III
                                                     United States Magistrate Judge
